                      Case 2:24-cr-00105-WBV-JVM                                                 Document 298-16                               Filed 05/19/25                         Page 1 of 1


       From: Vanessa Motta <vanessa@mottalaw.com>
          To:                   @kinginjuryfirm.com>
     Subject: Re: Phone records
        Date: Fri, 24 Mar 2023 14:42:44 +0000




Hi there!! Sorry for the delay. I have to say, that comments like that just prove they are truly ignorant buffoons. They are lucky I am not on it, because my response would have been, and
wasn’t that the one with the Hotard bus trying to get from Loyola to Alabama in less than 2 hours??? They are a joke to try and use this over 5 years from their accident.

The are copy and paste from Garrison records showing the connection to the phone number 504-                 . Ok, so according to the records, all calls went through, however, the
difference between your records and garrison is that in his it shows the actual seconds while your client’s it does minutes only. It must be a government phone or different plan.

The time begins when someone hits talk so it can be only rings or goes to voicemail and given the length of each call, I would think that. First call outgoing is 21 seconds, Second call
was incoming to Garrison and it was 14 seconds, and third call was 12 seconds.

  11/20/2017    15:20:40      21            moc          Outgoing     15045642011                                                15045059981       310260809110564        355353081893700       Completed                  NVTA
                                                                                                                                                                                                                             T S004
                                                                                                                                                                                                Successfully


  11/20/2017    15:48:49      14            mtc          Incoming                         15045642011        15045642011         15045642011       310260809110564        355353081893700       Completed        11        NVTA
                                                                                                                                                                                                                             T S004
                                                                                                                                                                                                Successfully


  11/20/2017    16:08:15      12            mtc          Incoming                         15045642011        15045642011         15045642011       310260809110564        355353081893700       Completed        11        NVTA
                                                                                                                                                                                                                             T S004
                                                                                                                                                                                                Successfully




Vanessa Motta
Attorney at Law
Motta Law, LLC
3632 Canal Street
New Orleans, LA 70119
PH: 504-670-9490
Facsimile: 504-513-3122
Email: Vanessa@Mottalaw.com
Website: www.mottalaw.com

NOTICE: This E-mail (including attachments) is covered by the Electronic Communications Privacy Act, 18 U.S.C. §§ 2510-2521, is confidential and may contain attorney-client materials and/or attorney work product, legally
privileged and protected from disclosure. This e-mail is intended only for the addressee named above. If you are not the intended recipient, you are hereby notified that any retention, dissemination, distribution, or copying of
this communication is strictly prohibited. Please reply to the sender that you have received the message in error, then delete it and any and all copies of it. Thank you.




On Mar 22, 2023, at 2:42 PM,                         <        @
                                                              @kinginjuryfirm.com> wrote:

Attached, are records the defense sent us for our client Mr.
Accident was 11/19/2017. The defense atty wrote to us, "As you will see in                ’s phone records, at 9:20AM on November 20, 2017, approximately 13 hours after the subject
accident,       eceived a call from (504) 564-2011.        then placed two more calls to that number at 9:48 AM and 10:08 AM that same morning. That number belonged to
Cornelius Garrison, who, as you are aware, was indicted in September 2020 for his involvement in the staged accident scheme in the New Orleans area."

--

The King Firm, LLC
2912 Canal Street
New Orleans, Louisiana 70119
Phone 504-909-5464
Direct Dial 504-304-2360
Fax 800-901-6470
<02.02 T-Mobile SDT Response ( .PDF><02.02 T-Mobile SDT Response (                                             .PDF>




                                                                                                                                                                                        GOVERNMENT
                                                                                                                                                                                          EXHIBIT

                                                                                                                                                                                                    N


                                                                                                                                                                                                           US-072-00944336
